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UN ITED STATE S O F AM ERICA,

                                                    Crim inalActioh N o.:7:16cr30026

M ICHAEL JONES,eta1.y
   D efendants.                                     By:H on.M ichaelF.Urbansld
                                                    ChiefUnited StatesDistdctJudge

                            M EM O M N D U M O PIN IO N

      Thism attercom esbefore the cotzrton defendants'Batson challenge,ECF N o.768,

in which defendantsargue thatthegovernm entused itsperem ptory challengesattrialin a

cliscriminatorymatterin violation ofBatson-v.Kent
                                                azclcy,476U.S.79 (1986).Specifically,
                               t                        ..
defendantsclaim thatthegovernm entused apum osely cliscrim inatory peremptory challenge

againstN .F.,a black m ale,because ofhisrace.

                                           1.

      ln Batson,the Suprem e Courtheld thattheuse ofperem ptory challengesto strike

jurorsonthebasisoftheirraceviolatestheFourteenthAmendment.Id.at89;seeUnited
Statesv.Martinez-salazar,528U.S.304,315(2000)(T'heEqualProtection Clauseofthe
FourteenthAmendmentprohibitsanyparty from ffexercisgingjaperemptorychallengeto
removeapotentialjurorsolely on thebasisofthejuror'sgender,ethnicorigin,orrace.77).
TheBatson litnitationsfçareim posed on federalpzosecutorsby the fifth am endm ent''

United Statesv.Lane,866F.2d 103,104n.1(4th Cir.1989).
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      Batson and itsprogeny havedeveloped a three-step fram ework forevaluating claim s

ofimpernlissiblediscriminationinthejuryselectionprocess:
       (1) the defendant must make out a prima facie case that the peremptory
       challengewasbased on purposefuldiscrirninadon,(2)theburden shiftsto the
      govetnm ent to produce a race neuttal explanation for the perem ptory
       challenge thatisparticularto theparties'case athand,and (3)thetzialcourt
      then has the duty of deciding whethet the defendanthas carried his burden
      and proved puzposefuldiscrinùnation.

UnitedStatesv.Barnette,211F.3d 803,812 (Barnette1)(4th Cir.2000)(ciéngPutkettv.
Elem,514U.S.765,767-68 (1995)).
      A defendantestablishesaprim a facieviolation ofaracialdiscrim inaéon in the use of

perem ptory challengeswhen he show s:

       (1)Tfheisamemberofacognizablezacialgzoup7';(2)ffthatthepzosecutorhas
       exercised perem ptory challenges to rem ove from the venire m em bers of the
      defendant's race7'; and (3)ffthat these facts and any other televant
      citcum stances raise an inference that the prosecutor used that practice to
       excludethevmliremen from thepetitjul'yon accountoftheirrace.':
M athewsv.Evatt,105F.3d 907,917n.7 (quotingBatson,476U.S.at96),abro ated on
other roundsb Miller-Elv.Dretlce,545U.S.231(2005).lftheprosecution hasoffered
race-neutralreasons forthe perem ptory challenge and thecourthasruled on the ultim ate

question ofintentionaldiscrim ination,ffthe pzelim inaryissue ofwhetherthe defendanthas

madeaprimafacieshowingismoot.7'Hernandezv.New York,500U.S.352,359 (1991).
      The burden then shiftsto the prosecution to providerace-neutralreasons forits

Perem ptory challenge.Theprosecution'sçfexplanation need notbe Tpersuasive,oreven

plausible,'aslongasitisneutral.'''United Statesv.Grimmond,187F.3d 823,834 (4t.
                                                                             h Cir.
1998)(quotingM atthews,105F.3d at917);seealsoJohnson v.California,545U.S.162,
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(2005)(findingthattheanalysismovestothethirdstepffeveniftheStateproducesonlya
frivolousorutterlynonsensicaljuséfication foritsstrike?).
      The Fourth Citcuithasarticulated myriad race-neuttalreasonsthatsatisfy Batson's

secondprong.See e..,UnitedStatesv.Dinldns,691F.3d358,380(4thCir.2012)juror's
husband had been charged vrit.h assault,had two friendswho had been m urdered,had farnily

who used drugsduring herffwhole childhoody''and had fourchildren between ages fiveand

ten);Unitedjtatesv.Barnette,644F.3d192,215(Barnettel1)(4thCir.2011)(findingthat
ffhesitatgionlwhen askedwhethershecould putthegovernmenton an equalplayingfield
with thedefendant':wasraceneutzal);United Statesv.Farrior,535F.3d210,221(4th Cit.
2008)jurorwasbailbondsmanandnnightbesympathetictodefendants);UnitedStatesv.
Sin h,518F.3d236,255(4t.
                       hCit.2008)(jurorwasfftoofanxioustoserveonthepanelMJ);
UnitedStatesv.McMillon,14F.3d 948,951(4t.
                                        h Cir.1994).(urorwasthesameageas
defendantand had children likedefendants).
      Ofparticularimport,inFelknezv.Jackson,theprosecution struckablackjurorwho
Tr
 stated thatftom the agesof16 to 30 yearsold,hew asfrequently stopped by the California

policeofficersbecause inlzisview ofhisraceandage.''562U.S.594,595(2011)@er
curiam).TheCalifozniatrialcourtdeniedaBatson challenge,wltich theCaliforrkiaColzrtof
Appealsaffltm ed afterdfcarefullyzeviewgingjtherecord.''Id.at598.TheSupremeCourt
deterrnined thattheCalifotrliaCourtofAppeals'decision ffwasplainly notunreasonable.7'

1d.(emphasisadded)(reversingNinth Citcuit'sgtantofBatson challenge).
      Sim ilarlyinstructive,in United Statesv.Cam pbell,tlneprosecution exerdsed a

perem ptory challenge on the soleblackvenire m em betTfbecause shew asam ong agroup of
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potentialjtzrorswhom thegovernmentintendedto strikebecausetheywerevictimsofcrime
andrnighthave,therefore,been dissatisfiedwith thepolice.':980F.2d245,249(4th Cir.
1992).Thedefendantpresentedevidencethatthevenirem emberffwasawell-known and
vocalcritic oftheRoanokeCity Police D epartm entand thatthe governm entattorneysw ere

awareofthis.':I.
               I1.TheFourthCircuitrejectedthisargument,findingthattheprosecution's
rationaleTTqualifiesas...facially neutral.''1d.;accordUnited Statesv.Jett,18F.App'x224,
234(4thCir.2001)(prosecutionhbelievedjllrornaightbebiasedagainstpolicebecausejuror
stated policedid notrespond qtéclcly to azobberybecause oftheneighborhood in which the

crimetook place).
       Oncetheprosecution propoundsarace-neutralreason forstdldng ajuror,thedistrict
courtm ustdeternaineifthedefendanthasestablished purposefuldiscritnination.See

Hernandez,500U.S.at363(citingBatson,476U.S.at98).Atthisstage,Batson requiresthe
courtKçto assesstheplausibility ofthatreason in lightofallevidencewith abearing on it.''

Miller-Elv.Dretke,545U.S.231,252(2005);seeHernandez,500U.S.at363 (<f(Ajn
invidiousdiscrirninatory purpose m ay often beinferred fzom the totality ofrelevantfacts,

includingthefact,ifitistrtze,thatthegclassificationjbearsmoreheavilyon oneracethan
another.''(alterationsin original)(quotingW ashin tonv.Davis,426U.S.229,242 (1976))).
N onetheless,Tfgtlheultimatebtzrden alwaysrestswith theopponentofthechallengeto prove
fpum osefuldiscrim ination.'''Gêirnm ond,137 F.3d at834.

       In determiningw hetherthe prosecution h,asengaged in purposefuldiscrim inadon,

theFourt.h Circuit1aw allowsthecotzrtto considerany relevantfactozs,including the

ultimateracialcomposition ofthejury,United Statesv.Joe,928F.2d 99,103 (4t.h Cir.1991),
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queséonsasked (ornotasked)ofthestricken jurors,UnitedStatesv.Grandison,885F.2d
143,147 (4th Cit.1989),theraceofgovernmentwitnessesorvictimsofthecrimescharged,
Barnette 1,211 F.3d at812,and whethertheprosecudon hasengaged in a pattern ofstriking

rninorityjurors,Grandison,885U.S.at147.
      Additionally,Miller-Elrequitescourtstoengageincomparadvejuroranalysis,in
which stricken nainorityjutorsarecomparedwith similarly simatedwhitejtzrors:
      M ote powerful than these bare statistics, however, are side-by-side
      com parisons of som e black venire panelists who weze struck and w hite
      panelists allowed to selare.If a prosecutor's proffered reason for strildng a
      black panelist appearsjustas wellto an otherwise-similat nonblack who is
      petcnitted to serve,thatisevidence tending to proveputposefuldiscrim ination
      to beconsidered atBatson'sthil-d step.

M iller-El,545U.S.at241;seealso Barnette1I,644F.3d at205(Kflljn Miller-El,theSuprem e
Court...YeldjthatproperanalysisofaBatson cllim reqllitesthatacourtengagein
comparativejuroranalysis....').
                                            II.

      Thegovernm entused apezem ptory challenge to strike N .F.,a65-year-old black

m ale.The governm entcontendsthatitstruck N .F.because fKlaisexperienceswith law

enforcem enthave been such thathe could notbelieve ...city cops.Thereare anum berof

citycopsthatareinvolvedin tlnisgttialj.''
      A ssurning defendantshaveestablished aprim a faciecase,undercontrolling Suprem e

Courtand Fourth Circuitlaw,the courtfindsthatthe governm ent'sproffered reasoq israce

neutral.SeeFelkner,562U.S.at595 (biasagainstpolice);Cam bell,980F.2d at249(same);
Jett,18F.App'x at234 (same).
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      N orhave defendantsdem onstrated thatthegovernm enthasengaged in purposeful

discrimination.Instead,the cotzrtfindsthe governm ent'sstated concernswell-founded.

N .F.'Svoirdiretestim ony isreplete* t.1
                                       ,1evidence thatN .F.would show biasagainstlaw
                                                                                   '

enforcem ent.W hen thegovernm entasked ifN .F.would believea law enforcem entofficer

Kjustbasedonl'
             lisownwordofhisinteractions,''VoirDire.Tr.11,N.F.responded:fTNo,1
wouldn'tgo along on a policeofficer'sword,butm aybean FBI,1'd probably proceed,buta

regularcitycop,itwould behard formeto doy''idaat12.Further,when thecourtasked

N.F.ifheffcouldprovidejuryserdceand listen to theeyidencein thiscaseandrenderafair
verclict,''N.F.responded:<<1'm justsayingitprobablywouldbehard.''Id.at4.
      D espite defendants'argum entto the contrary,itisofno m om entthatN .F.clnim s

thatheclaimshisbiasagainst1aw enforcementarisesfrom llisrace.I.
                                                              n Felknerv.Jackson,
theSuprem eCourtconsidezed thatvery issue.In reversing theN inth Citci t'sgrantofa

Batson challenge,theSupremeCourtdeternninedthatf'gtqheprosecutoroffered arace-
neuttalexplanation forsttikingeach juror:JurorS had statedthatfrom theagesof16to 30
yeatsold,hew asfzequently stopped by the California policeofficersbecause- in hisview-

ofhisrace and age.''562 U.S.at595.These are nearly thesam e reasons forbiasthatN .F.

stated during voirdite.Asthe Supzem e Courtexplained and the courtagrees,the

governm entsconcernsalre ffplainly?notunteasonable.''Id.at598.

      D efendantsalso m ake m uch ofN .F.'Ssupposed rehabilitadon when he was

interviewed during thevoitdite.D efendants'azgum entistnisplaced,however.The

goveznment(oradefendant,forthatmattez)mayuseaperemptorychallengeto strikea



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juzorevenifthejurorwasotherwisepreviouslyrehabilitatedduringvoirclire.SeeBriscoev.
Bucldn ham Corr.Center,2001W L 34862686,at*13 (E.D.Va.Sept.27,2001).
      M oreover,otherconsiderationscounselin favozofdenying theBatson challenge.

Unlikein M.iller-El,wheretheprosecudon exercised perem ptorychallengesagainstnearly all

black venirem em bers,thegovernm enthasm oved to perem ptorily challenge only one black

venirem em beroutofseven totalblack venire persons.Cf.545 U .S.at241;see G randison,

885U.S.at147.Additionally,blacksconstituteone-thirdofthejury,similarlysuggesting no
purposefuldiscrinlinationbythegovernment.1SeeJoe,928F.2dat103.
      A comparativejuroranalysisfurtherbolstersthisconclusion.On theonehand,the
courtcan identify no w llitevenitem em berwho,during strikesfotcause orperem ptory

challenges,expressedbiasesaboutlaw enforcementbutneverthelessnow sitson thejury.
On the othezhand,thecotzrthasidentified num erousvenirem em berswho wete stricken for

cause or on perem ptory challengesforthe sam e ozsim ilarbias.Forinstance,D .B.,a form er

state trooper,stated hewould believelaw enforcem entoffk etsoverothersbecause he

believed 1aw enforcem entoffkersarehonest.K .L.would presum e FBIagentsweretelling

the truth.Both D .B.and K .L.weze stricken forcause fordem onstrating biasesaboutlaw

enforcernent.

      Ultim ately,itisdefendants'burden to provethatthe governm entengaged in

Tfpurposefulcliscrirnination.7:G rimm ond,137 F.3d at834.W hen allthe evidenceconsidezed,

defendantshave failed to satisfy thatbuzden.A ccordingly,the Batson m otion,ECF N o.

768,w illbe D E N IE D .



   1Foutoutofhvelvejurymembersareblack andhvooutofthreealtematejlzrozsazeblack.
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                                      M ichaelF.Urbansld
                                      ChiefUnited StatesDistrictludge'




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